          Case 1:21-cr-00166-TFH Document 33 Filed 09/28/21 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                v.                              :       Case No. 21-cr-166 (TFH)
                                                :
ROBERT MAURICE REEDER,                          :
                                                :
                        Defendant.              :


                                               NOTICE

        On June 23, 2021, Defendant Robert Maurice Reeder pleaded guilty to Parading,

Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United States Code, Section

5104(e)(2)(G). A sentencing hearing was set for August 18, 2021. On the day of the hearing, the

Government was made aware of newly discovered evidence that revealed additional unlawful conduct

by the Defendant on January 6th. As a result, the Government requested that the Court continue the

sentencing until October 8, 2021.    The Government writes to notify the Court that is ready to proceed

with sentencing on October 8, 2021 and does not intend to bring further charges against the Defendant

related to the additional unlawful conduct that the Government became aware of on August 18, 2021.

However, based upon the totality of the Defendant’s conduct on January 6, 2021, the Government asks

that the Court impose a sentence of 6 months’ imprisonment.

                                                Respectfully submitted,

                                                CHANNING D. PHILLIPS
                                                Acting United States Attorney
                                                DC Bar No. 415793


                                           By: /s/ Joshua S. Rothstein
                                               Joshua S. Rothstein
                                               Assistant United States Attorney
                                               N.Y. Bar Number 4453759
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                                               Washington, D.C. 20530
          Case 1:21-cr-00166-TFH Document 33 Filed 09/28/21 Page 2 of 2




                                  CERTIFICATE OF SERVICE

       I certify that, by virtue of the Court’s ECF system, a copy of the foregoing filing and exhibits
were sent to defense counsel on September 28, 2021.


                                                       /s/ Joshua S. Rothstein
                                                       Joshua S. Rothstein
                                                       Assistant United States Attorney
